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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA


                                    CIVIL MINUTES

Date: May 1, 2025       (Time: 4 hours, 17 minutes) JUDGE: Phyllis J. Hamilton

Case No: 19-cv-07123-PJH
Case Name: WhatsApp Inc. v. NSO Group Technologies Limited

Attorney(s) for Plaintiff:        Greg Andres; Antonio Perez-Marques; Luca
                                    Marzorati
Attorney(s) for Defendants:       Joseph Akrotirianakis; Aaron Craig; Matthew
                                    Noller


Deputy Clerk: Kelly Collins              Court Reporter: Lee-Anne Shortridge

                                    PROCEEDINGS

      Jury Trial (Day 3) - Held. Further Jury trial set for May 2, 2025, at 8:30 a.m.



      See attached Exhibit and Witness Log
